Case 3:17-cv-00072-NKM-JCH Document 875 Filed 09/15/20 Pagelofi1 Pageid#: 14313

 

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TRANSCRIPT ORDER FORM DUE DATES

Please Read Instructions on Page 2.
1. REQUESTOR’S NAME TELEPHONE NUMBER

INFORMATION: Robert Cahill (Counsel for Plaintiffs) 703-456-8145
DATE OF REQUEST EMAIL ADDRESS (Transcript will be emailed to this address.)
9/15/2020 rcahill@cooley.com; ebolton@cooley.com
MAILING ADDRESS CITY, STATE, ZIP CODE
Cooley LLP, 11951 Freedom Drive, 14th Floor Reston, VA 20190
2. TRANSCRIPT NAME OF COURT REPORTER

REQUESTED: Mary Butenschoen

OR CHECK HERE IF HEARING WAS RECORDED BY FTR

CASE NUMBER CASE NAME JUDGE’S NAME
3:17-cv-00072 Sines, et al. v. Kessler, et al. Norman K. Moon
DATE(S) OF TYPE OF PROCEEDING(S) LOCATION OF PROCEEDING
PROCEEDING(S)
9/14/2020 Video Show Cause and Status Hearing Charlottesville, VA
REQUEST IS FOR: (Select one) [7] FULLPROCEEDING OR SPECIFIC PORTION(S) (Must specify below)

 

 

 

 

 

 

SPECIFIC PORTION(S) REQUESTED (If applicable):

 

3. SERVICE TURNAROUND CATEGORY REQUESTED:
(See Page 2 for descriptions of each service turnaround category.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Ordinary (30-Day) [| Daily
14-Day Hourly
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DATE SIGNATURE
9/15/2020 /s/ Robert T. Cahill

 

 

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or by email to CRC@vawd.uscourts.gov.

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